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SOUTHERN DISTRICT OF NEW YORK

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Write the full name of each plaintiff. CV
(Include case number if one has been
assigned)
-against-
COMPLAINT

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[. filthtle Date ir Cal, Villsawit
Do you want a jury trial?

box. 225396 Ces No
Hine Mh. [ULSD -S3Y
q V

 

 

 

Write the full name of each defendant. If you need more
space, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of
names. The names listed above must be identical to those
contained in Section I.

 

NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefore not contain: an individual’s full social security number or full
birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of
an individual’s birth; a minor’s initials; and the last four digits of a financial account number.
See Federal Rule of Civil Procedure 5.2.

 

 

 

Rev. 1/9/17

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I. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. In a diversity case, no defendant may
be a citizen of the same State as any plaintiff.

, basis for federal-court jurisdiction in your case?
Federal Question

L] Diversity of Citizenship
A. If you checked Federal Question

Which of your federal constitutional or federal statutory rights have been violated?
Flabitle Gere y ged yr ets Efe DOD! bikeve. “TWiess Je.
Const ile. tbe ort. Sys fee (aS the. Te rer pf? &
‘i: Ke ated C be. WE AC IE. Cc he. 2A de Breach ) F-, =~ 4D bile Lk
(Vote hd © UK. ely Ce Ject th 4 ef (pers PH T, ww brencat poy .
B. If you checked Diversity of Citizenship

1. Citizenship of the parties

Of what State is each party a a citizen?

A Ke Loy thee , is a citizen of the State of

 

The plaintiff, -—<%
(Plaintiff's name)

NM he € Co INAS.

(State in ‘Which the perséd resides and intends to remain.)

or, if not lawfully admitted for permanent residence in the United States, a citizen or

subject of the foreign state of

 

if more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional plaintiff.

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If the defendant is an individual:

Ly
cl ys Be foe . we
The defendant,~~ Jest, A hus NE , is a citizen of the State of

(Defendant’s name)

 

 

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

 

If the defendant is a corporation:

The defendant, A/a , is incorporated under the laws of

 

the State of

 

and has its principal place of business in the State of

 

or is incorporated under the laws of (foreign state)

 

and has its principal place of business in

 

If more than one defendant is named in the complaint, attach additional pages providing
information for each additional defendant.

Il. PARTIES

A. Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

Tr
Fos dey Li. /AeriA ¢

First Name Middle Initial Last Name

Street Address

 

 

 

LU Lo pill tbe fo Az S. [ed FC.
“County, City !) tate Zip Code
Ep tes fe Thon ak {OC &. gaat CoH
Telephone Number Email Address (if available)

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B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed jr the
caption. Attach additional pages if needed.

af

Defendant 1: ke ot G44. Ly Larue ted

rn name Last Name J
ee Title (or other identifying normouget
Lif &

Current ver Address (or other seaeo ye where defendant may be served)

hMh@ he? “aoe

County, \ tate Zip Code
Defendant 2:
First Name Last Name
VBS

Current Job Title (ob otfer oe information)
Wa tt
Current Work Addfess Nene address where defendant may be served)

als, TniNMinkim we lpia. Rte

 
  
  

 
     

County, City State Zip Code
f if 4
(39 Oe A NS. aa!
Defendant3: “2 YE a MAAN

 

First NAéme Last Name
WIRE

en Job Title (or other identifying information)

preg &-
Current Work Address (or other sare wer defendant may be served)
)

CW = AS Z Oe Seo
~ County, City 2 Sate Zip Code

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[vr wy [o\Se"S ST) Page

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4 / _ J pe
Defendant 4: Ailey LA Soap

First Name Last Name
Maw €.
Current Job Title (or other identifying information)

LAB IE.
Current Work Address (or other address where defendant may be served)

 

County, City State Zip Code

Il. STATEMENT OF CLAIM
Ap iad 1% Y,
Place(s) of occurrence: f ee / « “Eh. a/ Lif

3 7 7. 4
Date(s) of occurrence: Lf. eG AE of @&, Soo af
/

FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach

additional pages if needed.
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LV fut. uke EE Vie tle € Ce EP bg KA za! herby ovr st: EU
bias” TW Tite fy A. Cand Pp Cee tlc).
Li AZ, Ase ZB BLM Z Nt fF: ek tine. Bet Sept KOA 4 «aid,
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INJURIES:

If you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required and received.

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IV. RELIEF

State briefly what money damages or other relief you want the court to order.

(VE Ubi

 

 

 

 

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V. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil

Procedure 11.

l agree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may

result in the dismissal of my case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP application.

Pe 4 AO KRG East fb t, Chena

 

Plaintiff's Signature

oD; L, Ao. Miho

 

 

 

 

 

First Name Middle Initial Last Name
LD st f 2 gf. FB (ORY.
Street Address (

bay WY. 180°36>
Count, City 4 State Zip Code
Telephone Number Email Address (if available}

T have read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
LC] Yes [i No

if you do consent to receive documents electronically, submit the completed form with your
complaint. If you do not consent, please do not attach the form.

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